Case 5:13-cr-00027-RWS-CMC              Document 89        Filed 04/01/14     Page 1 of 2 PageID #:
                                              190



                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                       TEXARKANA DIVISION


 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §          CASE NO. 5:13CR27(1)
                                                    §          (Judge Schneider)
 CALVIN AVERY                                       §


               FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                    BEFORE THE UNITED STATES MAGISTRATE JUDGE

          Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Court for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

          On April 1, 2014, this cause came before the undersigned United States Magistrate Judge

 for guilty plea and allocution of the Defendant on Count Two of the Indictment. Count Two charges

 a violation of 21 U.S.C. § 841(a)(1). After conducting said proceeding in the form and manner

 prescribed by Fed. R. Crim. P. 11, the Court finds:

          a.      That the Defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

 United States Magistrate Judge subject to a final approval and imposition of sentence by the District

 Court.

          b.      That the Defendant and the Government have entered into a plea agreement which

 has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2) and 11(c)(1)(C).

          c.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing and voluntary plea supported by an independent basis in fact containing

 each of the essential elements of the offense.
.
    Case 5:13-cr-00027-RWS-CMC         Document 89       Filed 04/01/14    Page 2 of 2 PageID #:
                                             191


            d.      Parties have waived objections to the findings and recommendations of the

     undersigned.

            IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

     and the Guilty Plea of the Defendant, and that CALVIN AVERYshould be finally adjudged guilty

     of the offense listed above.
    SIGNED this 1st day of April, 2014.




                                              ____________________________________
                                              CAROLINE M. CRAVEN
                                              UNITED STATES MAGISTRATE JUDGE




                                                  2
